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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA



Display Technologies LLC,                          Case No. 21-CV-2458 (SRN/DTS)

                       Plaintiff,

          v.                                                   ORDER

Arkray USA, Inc.,

                       Defendant.


Eric J. Strobel, Strobel Consulting Services, LLC, 608 E. 38th Street, Sioux Falls, SD
57105, for Plaintiff.

Aaron P. Pirouznia, Neil Joseph McNabnay, and Ricardo Joel Bonilla, Fish & Richardson
PC, 1717 Main Street, Suite 5000, Dallas, TX 75201 and Phillip W. Goter, Fish &
Richardson PC, 60 South Sixth Street, Suite 3200, Minneapolis, MN 55402, for
Defendant.


      This matter is before the Court upon the Stipulation of Dismissal filed by the

parties [Doc. No.18]. Based on the Stipulation,

      IT IS HEREBY ORDERED that all claims asserted by Plaintiff in this action are

dismissed with prejudice and all claims asserted by Defendant in this action are dismissed

without prejudice. Each party shall bear its own costs and attorneys’ fees with respect to

matters dismissed.

      LET JUDGMENT BE ENTERED ACCORDINGLY.

      Dated: March 16, 2022
                                                  s/Susan Richard Nelson
                                                  SUSAN RICHARD NELSON
                                                  United States District Judge
